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12   OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC,
     OpenAI Holdings, LLC, OpenAI Startup Fund Management, LLC,
13   OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P.,
     OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV GP II, L.L.C.,
14   OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
     OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P.,
15   OpenAI Startup Fund SPV III, L.P., OpenAI Startup Fund SPV IV, L.P.,
     Aestas Management Company, LLC, and Aestas LLC
16
                                    UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                         OAKLAND DIVISION
19

20    ELON MUSK,                                       Case No. 4:24-cv-04722-YGR
                       Plaintiff,
21                                                     DECLARATION OF DAVID J.
            v.                                         WIENER IN SUPPORT OF OPENAI
22                                                     DEFENDANTS’ MOTION TO DISMISS
      SAMUEL ALTMAN, et al.,                           COMPLAINT OF PLAINTIFF
23                                                     ELON MUSK
                       Defendants.
24                                                     Date: November 12, 2024
                                                       Time: 2:00 p.m.
25                                                     Courtroom: 1 – 4th Floor
                                                       Judge: Hon. Yvonne Gonzalez Rogers
26                                                     Compl. Filed: August 5, 2024
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                 DECLARATION OF DAVID J. WIENER ISO OPENAI DEFENDANTS’ MOTION TO DISMISS
                                       CASE NO. 4:24-CV-04722-YGR
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 1           I, DAVID J. WIENER, declare as follows:
 2           1.     I am a member of the bar of the State of California and am admitted to practice
 3   before this Court. I am a partner at the law firm of Morrison & Foerster LLP and counsel of record
 4   for Defendants Samuel Altman, Gregory Brockman, OpenAI, Inc., OpenAI L.P., OpenAI, L.L.C.,
 5   OpenAI GP, L.L.C., OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, LLC, OpenAI
 6   Holdings, LLC, OpenAI Startup Fund Management, LLC, OpenAI Startup Fund GP I, L.L.C.,
 7   OpenAI Startup Fund I, L.P., OpenAI Startup Fund SPV GP I, L.L.C., OpenAI Startup Fund SPV
 8   GP II, L.L.C., OpenAI Startup Fund SPV GP III, L.L.C., OpenAI Startup Fund SPV GP IV, L.L.C.,
 9   OpenAI Startup Fund SPV I, L.P., OpenAI Startup Fund SPV II, L.P., OpenAI Startup Fund SPV
10   III, L.P., OpenAI Startup Fund SPV IV, L.P., Aestas Management Company, LLC, and Aestas
11   LLC (the “OpenAI Defendants”). I submit this Declaration in support of the OpenAI Defendants’
12   Motion to Dismiss the complaint of Elon Musk and its accompanying Request for Judicial Notice.
13   I make this Declaration based on facts that I personally know, except where otherwise indicated. If
14   called as a witness, I would testify to the facts listed below.
15           2.     Attached as Exhibit A is a true and correct copy of the complaint filed on February
16   29, 2024 in the case captioned Musk v. Altman, et al., Case No. CGC-24-612746 (S.F. Sup. Ct.).
17           3.     Attached as Exhibit B is a true and correct copy of the motion to strike filed on
18   March 27, 2024 in the case captioned Musk v. Altman, et al., Case No. CGC-24-612746
19   (S.F. Sup. Ct.).
20           4.     Attached as Exhibit C is a true and correct copy of the opposition to demurrer filed
21   on April 10, 2024 in the case captioned Musk v. Altman, et al., Case No. CGC-24-612746
22   (S.F. Sup. Ct.).
23           5.     Attached as Exhibit D is a true and correct copy of the webpage, titled OpenAI and
24   Elon Musk, published on March 5, 2024, and available at https://openai.com/index/openai-elon-
25   musk.
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                   DECLARATION OF DAVID J. WIENER ISO OPENAI DEFENDANTS’ MOTION TO DISMISS
                                         CASE NO. 4:24-CV-04722-YGR
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 1          I declare under penalty of perjury that the foregoing is true and correct. Executed on October

 2   8, 2028, at San Francisco, California.

 3                                                          /s/ David J. Wiener
                                                          David J. Wiener
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                   DECLARATION OF DAVID J. WIENER ISO OPENAI DEFENDANTS’ MOTION TO DISMISS
                                         CASE NO. 4:24-CV-04722-YGR
     Case 4:24-cv-04722-YGR          Document 25-1        Filed 10/08/24      Page 4 of 4



 1                                         ECF ATTESTATION

 2          I, Jordan Eth, am the ECF User whose ID and password are being used to file this

 3   DECLARATION OF DAVID J. WIENER IN SUPPORT OF OPENAI DEFENDANTS’

 4   MOTION TO DISMISS COMPLAINT OF PLAINTIFF ELON MUSK. In accordance with

 5   Civil Local Rule 5-1, concurrence in the filing of this document has been obtained from each of the

 6   other signatories, and I shall maintain records to support this concurrence for subsequent production

 7   for the Court if so ordered or for inspection upon request by a party.

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 9   Dated: October 8, 2024                                 /s/ Jordan Eth
                                                          Jordan Eth
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                   DECLARATION OF DAVID J. WIENER ISO OPENAI DEFENDANTS’ MOTION TO DISMISS
                                         CASE NO. 4:24-CV-04722-YGR
